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                               No. 22-5807
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                                   In the
            United States Court of Appeals for the Sixth Circuit
                            ________________

                         STATE OF TENNESSEE, ET AL.,
                            Plaintiffs-Appellees,
                                      v.
                      DEPARTMENT OF EDUCATION, ET AL.,
                           Defendants-Appellants.
                            ________________
                            On Appeal from the
                       United States District Court for
                      the Eastern District of Tennessee
                             _______________
                 Brief Amicus Curiae of LONANG Institute
             in Support of Plaintiffs-Appellees and Affirmance
                            ________________

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        STATEMENT OF IDENTIFICATION OF AMICUS CURIAE

      LONANG Institute is a Michigan-based, nonprofit and nonpartisan research,

and educational institute. Application of the “Laws Of Nature And Nature’s God”

to contemporary legal disputes is its specialty. Referenced in the Declaration of

Independence of 1776, the law and its principles including the creation of

mankind, male and female, and separation of powers became then permanently

enshrined into our forms of civil government. This same law also presupposed that

any civil government, branch, agency, or commission thereafter created are obliged

to honestly observe, not suppress, its principles.

      As friend of the Court, LONANG Institute offers the Court reasoned insight

into the legal implications of that Law pertinent to Bostock v. Clayton Cnty.,

Georgia, 207 L. Ed. 2d 218, 140 S. Ct. 1731 (2020). The Institute reasons that

Justice Gorsuch’s “ordinary public meaning” test propping up that decision, lacks

legal authority among the Supreme Court’s case law and is therefore neither

binding nor precedential upon this Circuit.

      The undersigned counsel authored the brief in whole. No party's counsel

authored the brief in whole or in part. No party or a party's counsel contributed

money intended to fund the preparation or submission of the brief. No person other

than the amicus curiae, its members, or its counsel contributed money intended to

fund the preparation or submission of the brief.


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      Amicus LONANG Institute obtained the consent of the parties to file its

Amicus brief pursuant to Fed. R. App. P. 29(a)(2). The Appellant Department of

Justice replied that it “consents to a timely-filed amicus brief pursuant to FRAP

29.” The Appellee States indicated they had no objection to Amicus LONANG

Institute filing an Amicus brief. The Intervenor-Appellees also indicated they had

no objection to Amicus LONANG Institute filing an Amicus brief.




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                          STATEMENT OF THE CASE

      Appellants United States Department of Education (DOE), the Equal

Employment Opportunity Commission (EEOC) and the Department of Justice

(DOJ) appealed the District Court’s order granting in part and denying in part the

Appellee States’ motion for a preliminary injunction. Op. 46, R. 86, Page ID #

1987. The District Court enjoined implementation of interpretive documents issued

by the EEOC and the DOE purporting to apply the Supreme Court’s decision in

Bostock v. Clayton Cnty., Georgia, 207 L. Ed. 2d 218, 140 S. Ct. 1731 (2020).

      The    government     Appellants’     enjoined   documents     prohibited   sex

discrimination broadly under Title VII and Title IX respectively, by expanding

Bostock’s actual holding regarding discrimination based on sexual orientation and

gender identity. The core of the government’s appeal is that the district court

abused its discretion in granting the preliminary injunction because the States

failed to show a likelihood of success on the merits and that the balance of equities

weighed against preliminary relief.

      The appellee States maintain, inter alia, that the DOE and EEOC’s

documents are an unauthorized and unconstitutional new rule expansion of Bostock

and the District Court’s decision was correct and should be affirmed. Their

fourteen count complaint alleges several theories including a violation of

separation of powers. Comp. Doc. 1, Page ID #23.


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                                   ARGUMENT

        I. The District Court’s injunction is Easily Sustained

        a. Bostock only Reached Title VII Terminations.

        The District Court found Plaintiffs (Appellees) demonstrated a likelihood of

success on the merits.       The Defendants' (Appellants) challenged guidance

documents expanded the Bostock decision to both Title IX and all of Title VII’s

prohibitions. The Bostock decision, however, held that it was narrow in scope only

applying to Title VII and only in regard to employment terminations subject to

Title VII. Title VII prohibits an employer from "fir[ing] someone simply for being

homosexual or transgender." Bostock, 140 S. Ct. at 1753. The Sixth Circuit has

adopted this position. See Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir.

2021) (quoting Bostock, 140 S. Ct. at 1753) “Bostock extends no further than Title

VII.”

        b. Bostock declined to Reach Title IX

        Since the government’s rules went beyond applying Bostock to Title VII

terminations and also applied it whole cloth to Title IX, the District Court reasoned

the government’s challenged documents constituted new legislative rules. The

new rules created new and additional rights and obligation in the Title VII and

Title IX context, not found in Bostock.




                                          4
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      The APA sets different procedural requirements for “legislative rules” and

“interpretive rules”: the former must be promulgated pursuant to notice-and-

comment rulemaking; the latter need not. Since the Defendants failed to comply

with the APA's requirements in promulgating its new legislative rules under Title

VII and Title IX, the Plaintiffs easily enjoyed a strong likelihood of success on the

merits. The Sixth Circuit should have no problem in affirming the lower court’s

injunctive relief considering the government’s inexcusable APA legal failures.

      II.   Agency Adopted New Rules are Legislative, Requiring Prior
      Notice and Comment.

      Yet, Amicus write to explain that Bostock itself presents a new legislative

rule, and is not simply a judicial decision. It created a rule of general applicability

governing employer terminations, a power reserved to Congress, not the weaker

judicial branch. Who decides? Who in our Constitutional System decides the

legal scope of the term “sex” in Title VII? The Congress, the executive branch

through its orders, commissions and agency documents, or the courts? Relying on

binding precedent, the Sixth Circuit has already explained the applicable legal

standard for who decides:

      [L]egislative rules have the force and effect of law and interpretive rules do
      not. Thus, a rule that intends to create new law, rights, or duties, is
      legislative, while a rule that simply states what the administrative agency
      thinks the statute means, and only reminds affected parties of existing duties
      is interpretive. Because interpretive rules cannot effect a substantive change
      in the regulations, a rule that adopts a new position inconsistent with any of
      the [agency's] existing regulations is necessarily legislative.
                                          5
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Mann Constr., Inc. v. United States, 27 F.4th 1138, 1142-43 (6th Cir. 2022) The

District court quoted this rule verbatim, 2022 U.S. Dist. LEXIS 125684, *58.

      So far, so good. But as this is the rule—that the executive branch cannot

lawfully create a new rule through its bureaucracy, the same rule must also hold

true when applied to the judicial branch through its courts.

      III. Judicially Adopted New Rules are Legislative, Violating
      Separation of Powers.

      The key question, therefore, the Sixth Circuit ought to consider beyond

simply affirming the lower court’s injunctive relief, is whether the decision of the

Supreme Court in Bostock really applies existing Title VII law, or instead the

decision invented a substantive change in existing Title VII law. Did Bostock

create a new legislative rule under the guise of determining the meaning of the

word “sex” in Title VII?

      The point is made more sharply by applying the Mann Construction Court’s

own agency-based statutory construction approach to the Supreme Court’s Bostock

decision. It is easy for a court to apply the test to the executive branch. But the true

law of nature principle that legislative power is for the legislature (in this case

Congress), applies equally in examining decisions of the judicial branch. If one

knows when an agency makes new rules versus stating what the statute means,

then one can also know by the same yardstick if the Court’s decision in Bostock,

makes a new rule versus stating what the statute already means.
                                           6
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      What follows is the Mann Construction court’s own rule concerning how

you know legislation when you see it, as rephrased by Amicus, and then applied to

the judicial branch.

      Because judicial decisions cannot effect a substantive change in the statute, a
      decision that adopts a new position inconsistent with the existing
      Congressional statute is necessarily legislative, and as such violates the
      Constitution’s horizontal separation of powers. And if that decision affects a
      State, then it also violates the Constitution’s vertical separation of power.1

      This re-paraphrase states the rule when applied to the “other branch,”

meaning the Judicial branch. It is not a rule just for the executive branch. If

horizontal and vertical separation of powers still mean anything substantively, it

must be candidly admitted that the judicial branch has no more Constitutional

authority than the executive branch with all its bloated departments, agencies, and

commissions, to adopt a new legal position inconsistent with any of the existing

laws passed by Congress. Just because a new legal position is dressed up and titled




      1
          The Bostock majority pays lip service to this, approach assuring the naïve
reader that it is faithfully staying in its judicial lane. But its holding discards the
principle in practice.
        “After all, only the words on the page constitute the law adopted by
Congress and approved by the President. If judges could add to, remodel, update,
or detract from old statutory terms inspired only by extratextual sources and our
own imaginations, we would risk amending statutes outside the legislative process
reserved for the people's representatives. And we would deny the people the right
to continue relying on the original meaning of the law they have counted on to
settle their rights and obligations.” See New Prime Inc. v. Oliveira, 586 U.S. ––––,
139 S. Ct. 532, 538–539, 202 L. Ed.2d 536 (2019).”
                                          7
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a Rule, a Guidance, a Regulation, an Executive order, or even a Supreme Court

decision, it cannot legitimize its embrace of a new legislative power.

      As lawyers and judges, however, our professional experience and atextual

constitutional training about who should decide, makes the Bostock Court’s sleight

of hand harder to see. If only Judicial opinions were labeled an “agency guidance”

our task would be easier.

      IV.    To Follow Precedent or Follow Law?

      Amicus recognize the easy path here is to affirm the injunctive relief ordered

by the District Court and be done with it. To go beyond that, requires this Court to

struggle with its duty as a lower court to follow the decisions of the Supreme Court

as precedent, or reflect more attentively upon its constitutional oath individually

taken by each judge to support the Constitution. Who can serve two masters? The

duty regarding adherence to precedent does not require slavish obedience to

precedent, but distinguishing precedent is not to be undertaken lightly. Amicus’

view is that this ought not be a hard decision since an oath invokes the judgment of

the Almighty as the supreme judge of the oath taker’s conscience, whereas the duty

to follow the decisions of a superior tribunal only invokes the displeasure of human

beings.

      If this approach lacks persuasion, then Chief Justice John Marshall may

resonate. The very legitimacy of judicial review rests on the proposition that the


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“framers … contemplated that instrument as a rule of government of the courts.”

Referring to the Constitution’s oath he asks the following, which Amicus believe is

also directed to this Circuit’s instant panel:

      Why otherwise does it direct the judges to take an oath to support it? …
      Why does a judge swear to discharge his duties agreeably to the constitution
      of the United States, if that constitution forms no rule for his government? If
      it is closed to him, and … not … inspected by him? If such be the real state
      of things, this is worse than solemn mockery. To prescribe, or take this oath
      becomes equally a crime. 2

      Can the Sixth Circuit be so reckless of its constitutional obligations to prefer

an unbending commitment to strict appellate review, accepting the Bostock

decision of the Supreme Court, when the foundational principles of the Union are

torn away thereby? Is there so little hope to find a friend of federalism these days?

Will the Court follow Bostock as if it is real precedent or will it follow the law,

which in this case is the Constitution’s separation of powers doctrine?

      V. An Honest Observance of Separation of Powers, Illuminates Bostock
      as Wrongly Decided.

      Perhaps Amicus can help make the choice clearer?               President Andrew

Jackson framed such constitutional choices by stating:

      When an honest observance of constitutional compacts cannot be obtained
      from communities like ours, it need not be anticipated elsewhere, and the
      cause in which there has been so much martyrdom, and from which so much
      was expected by the friends of liberty, may be abandoned, and the degrading
      truth that man is unfit for self-government admitted. And this will be the

      2
          Marbury v. Madison, 5 U.S. 137, 180 (1803).

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      case if expediency be made a rule of construction in interpreting the
      Constitution. Power in no government could desire a better shield for the
      insidious advances which it is ever ready to make upon the checks that are
      designed to restrain its action.3

      It is critical to acknowledge that President Jackson portrayed the struggle as

one over honesty first and foremost: “When an honest observance of Constitutional

compacts cannot be obtained from communities like ours . . . .” Why honesty?

Why not an observance based on the “case law” or Supreme Court “decisions”?

Jackson chose honesty because that is the human issue undergirding fidelity to the

law of the land.

      As the law of nature observes, without honesty, Justice is turned back, and

righteousness stands far away. When truth has stumbled in the public square,

uprightness cannot enter. Isaiah 59:14. Without honesty, we turn away from

listening to the truth and wander off into myths. Timothy 4:4. Indeed, “An error

does not become truth by reason of multiplied propagation, nor does truth become

error because nobody sees it” or so said Mahatma Gandhi in 1925.4

      Nor should this Court lose to antiquity what Chief Justice Taney wrote:



      3
         May 27, 1830: Andrew Jackson, Veto Message Regarding Funding of
Infrastructure Development.
https://www.loc.gov/resource/maj.08174_0001_0018/?sp=8&st=image
      4
         Young India, 1924-1926 by Mahatma Gandhi, p. 1285.
https://dspace.gipe.ac.in/xmlui/handle/10973/33432?show=full

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      In expounding the Constitution of the United States, every word must have
      its due force and appropriate meaning; for it is evident from the whole
      instrument that no word was unnecessarily used or needlessly added….
      Every word appears to have been weighed with the utmost deliberation, and
      its force and effect to have been fully understood. No word in the
      instrument, therefore, can be rejected as superfluous or unmeaning.5

      This same respect for the written word should likewise apply to the Court’s

textual approach to statutes like Title VII and Title IX. “Given this high view of

the constitutional text, the Court adopted a rule of construction, designed to

maintain the prevalence of that written text over the courts.” 6

      VI. Justice Gorsuch’s “Ordinary Public Meaning” Test in Bostock Is
      without Legal Pedigree, Fact-less, and Non-precedential.

      Amicus have so far discussed how the test for legislation and new rules

applies equally to the judicial as well as executive branches. We have recalled the

high standard of honesty observed by Chief Justice Marshall and President Andrew

Jackson when adjudicating Constitutional and statutory questions. Amicus now

turn to those additional forceful reasons to assist this Court to go beyond mere

affirmance of the lower court, but rather to also cast a critical judicial eye upon

Bostock itself. Amicus present legal arguments that discredit Bostock’s “ordinary


      5
           Holmes v. Jennison, 39 U.S. 540, 570-71 (1840) (The construction given
to the word "suit" in the act of 1789 is well calculated to promote the great ends of
justice, and undoubtedly conforms to the intention of the legislature.) Id. at 568.
       6
          Herbert W. Titus, The Constitution and the High Court: The Case for
Textual Fidelity (2006). https://lonang.com/commentaries/conlaw/judicial-
power/the-constitution-and-the-high-court/#fn15d

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public meaning” test as one with no real pedigree, illustrate Bostock’s lack of any

factual foundation, and conclude that Bostock is non-precedential, or at least

distinguishable and does not govern this appeal.

      In so doing, Amicus focus on the lynchpin of Justice Gorsuch’s majority

opinion—his invention and contrivance of the phrase “ordinary public meaning.”

Whether Justice Gorsuch is mistaken, confused or simply not honest with the

invocation of his “ordinary public meaning” test is for others to decide.

      But let facts be submitted to a candid world, or in this case the panel.

Consider these key foundational claims in Bostock.            “This Court normally

interprets a statute in accord with the ordinary public meaning of its terms at the

time of its enactment.” 140 S. Ct. at 1738. “With this in mind, our task is clear.

We must determine the ordinary public meaning of Title VII’s command.” 140 S.

Ct. at 1738. Justice Gorsuch passes this phrase along as if it really is what the

“Court normally” interprets and what it typically “determine[s].” But is this really

an honest construction?

      a. Justice Gorsuch’s “Ordinary Public Meaning” Test is Self-invented.

      Contrast his “ordinary public meaning” test with the right of the people “to

continue relying on the original meaning of the law they have counted on to settle




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their rights and obligations.” 140 S. Ct. at 1738. The “original meaning” - that is

the “normal” test that is “typically” applied. That is the Marshall test.7

      Where then did “ordinary public meaning” come from? What is its pedigree?

A Westlaw search reveals it is merely referenced in two prior Supreme Court

cases. It was alluded to once in a FOIA case, Food Mktg. Inst. v. Argus Leader

Media, 204 L. Ed. 2d 742, 139 S. Ct. 2356, 2362 (2019).              Justice Gorsuch

delivered the opinion of the Court in that case. The term also appears once in

Richfield Co. v. Christian, 206 L. Ed. 2d 516, 140 S. Ct. 1335, 1363 (2020)

“(When interpreting a statute, this Court applies the law's ordinary public meaning

at the time of the statute's adoption, here 1980. See Wisconsin Central Ltd. v.

United States, 585 U. S. ––––, 138 S. Ct. 2067, 2074, 201 L. Ed.2d 490 (2018).”

Justice Gorsuch wrote a concurring in part and dissenting in part opinion in that

case too. A further review of the Wisconsin Central case cited reveals again that

Justice Gorsuch was its author, and in that case, he used “ordinary meaning;”

“common meaning,” and “ordinary, contemporary, common meaning” all

interchangeably. What a mishmash.


      7
         “To say that the intention of the instrument must prevail; that this intention
must be collected from its words; that its words are to be understood in that sense
in which they are generally used by those for whom the instrument was intended;
that its provisions are neither to be restricted into insignificance nor extended to
objects not comprehended in them, nor contemplated by its framers is to repeat
what has been already said more at large and is all that can be necessary.” Ogden
v. Saunders, 25 U.S. 213, 232 (1827), Marshall, C.J. dissenting.
                                          13
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      Thus, as to the pedigree of “ordinary public meaning,” a candid world can

see it has none of any account. It is an evolving term conceived of by average

lawyers and then adopted and championed by Justice Gorsuch as the true historical

test of a statute’s meaning. Its zenith so far is reflected in the Bostock decision.

Yet, it is a palpable departure from and rejection of originalism and “original

meaning.”

      b. Justice Gorsuch’s “Ordinary Public Meaning” Test is not Factually
      based.

      And what part of the record below does the Bostock Court point to

establishing any understanding of even the “ordinary public meaning” of Title VII

in 1964? The best it can muster is that gay advocates filed judicial claims which

were all denied.8 As such, some employees believed the 1964 statute was broad

enough to include sexual orientation and gender identity. Historically, however,

Justice Gorsuch could have done better than that. A reference to the ancient beliefs

of the gay and transgender citizens of Sodom and Gomorrah about the meaning of




      8
        “The employers assert that “no one” in 1964 or for some time after would
have anticipated today's result. But is that really true? Not long after the law's
passage, gay and transgender employees began filing Title VII complaints, so at
least some people foresaw this potential application. See, e.g., Smith v. Liberty
Mut. Ins. Co., 395 F.Supp. 1098, 1099 (ND Ga. 1975) (addressing claim from
1969); Holloway v. Arthur Andersen & Co., 566 F.2d 659, 661 (CA9 1977)
(addressing claim from 1974).” Bostock, 140 S. Ct. at 1750–51.

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sex would have easily predated the statute making his position more persuasive.

Genesis 19:5. But this would assume history actually mattered to the decision.

      Even so, what new rule of statutory construction is this? That a plaintiff’s

pleadings reflect the binding “ordinary public meaning” of a statute?9 Apart from

its absurdity, the Court misses the obvious—that the EEOC and courts denial of

these early claims is the ordinary public meaning of the term “sex,” not the

pleadings of attorneys.

      c. Justice Gorsuch’s “Ordinary Public Meaning” Test is not Precedential.

      Now this Court is expected to uncritically accept Justice Gorsuch’s

pedigree-less test in the instant case as precedential, as if it possessed all the

historicity and legal heft of the Magna Carta. This Court is expected and asked to

merely accept Justice Gorsuch’s contrivance against the text of Title VII in the

Bostock case on no actual evidence whatsoever of any meaning in 1964. The Sixth

Circuit is asked and expected to merely apply the Bostock decision to decide if it

should reach further than termination of employment under Title VII or even to

Title IX. It is asked to accept uncritically as a foundational principle, and as a

precedential proposition a dishonest observance of our constitutional compact built


      9
           President Donald Trump who filed complaints across the country
challenging multiple election law procedures contesting the 2020 Presidential
election should welcome this new rule as good news. Amicus looks forward to
Justice Gorsuch affirming that the President’s pleadings define the meaning of
those challenged state and federal election procedures.
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on nothing more than a Justice’s atextual invention of “ordinary public meaning”--

an empty vessel ready to be filled by judicial majorities. It is to this house of

judicial cards we are trained to close our eyes.

      The Bostock majority concludes from this facade of a test, by drawing

conclusions in lieu of analysis. “From the ordinary public meaning of the statute’s

language at the time of the law’s adoption, a straightforward rule emerges: An

employer violates Title VII when it intentionally fires an individual employee

based in part on sex.” 140 S. Ct. at 1741.

      At bottom, these cases involve no more than the straightforward application
      of legal terms with plain and settled meanings. For an employer to
      discriminate against employees for being homosexual or transgender, the
      employer must intentionally discriminate against individual men and women
      in part because of sex. That has always been prohibited by Title VII’s plain
      terms—and that ‘should be the end of the analysis.’ 140 S. Ct. at 1743.

      VII. The Text of Title VII and Title IX in Light of the Law of Nature is
      The Starting Place, Not Bostock.

      Rather than start with Bostock, the Sixth Circuit should start with the statute

itself. Its original intent reached only male and female biological distinctions, not

what a person identifies as, believes or wants to be or become. These distinctions

were based on the law God laid down at creation when He created mankind. “In

the likeness of God made he him; male and female created he them.” Genesis 5:12.

In short, God has ordained only two sexual orientations, one male for one female,

and one female for one male; and only two acceptable preferences, one male for


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one female in a life-long marriage, and one female for one male in a like union. All

other sexual orientations and preferences are contrary to the law of nature.

      The Declaration of Independence says the consenting States could

legitimately become a nation among those of the earth, based on the “Laws of

Nature and of Nature’s God.” This law was not some religious propaganda to be

laughed at by lawyers and judges who know more law and judging than the

“Supreme Judge of the world.” It is a rule binding on our nation that carries with it

certain fixed legal principles unambiguously stated therein throughout all

generations. Among those principles fixed in our constitutional orbit is that

mankind is either male or female as a matter of creation and biology. Departure

from that principle is a departure from the organic law of the union. A power to

discard, reinvent or make a new legislative rule, is not Constitutionally provided

for in any branch, and certainly not by judicial review. 10

      Identity and belief concepts do not influence, let alone control the statutory

meaning of “sex.” As such an individual’s homosexuality or transgender status

whatever it may be, be chosen, or believed to be at any particular day or time,

when considered by an employer, does not constitute a violation of Title VII. Title


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          Kerry Lee Morgan, The Laws of Nature and of Nature’s God:
       The True Foundation of American Law. (2006).
https://lonang.com/commentaries/conlaw/declaration/laws-of-nature-and-natures-
god/

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VII does not make lawful discrimination against a person for being homosexual or

transgender unlawful discrimination against that individual based on sex. The same

reasoning applies to “sex” in Title IX.

      The Sixth Circuit must “continue relying on the original meaning of the law

the[] [people] have counted on to settle their rights and obligations.” 140 S. Ct. at

1738. From the original intent of the statute’s language at the time of the law’s

adoption, a straightforward rule emerges: An employer does not violate Title VII

when it intentionally fires an individual employee based on homosexuality or

transgender status.

      At bottom, the instant cases involve no more than the straightforward

application of legal terms of Title VII and Title IX with its plain and settled

meaning since 1964 and 1972 respectively, based on the original intent of those

who adopted it -- that discrimination based on homosexuality or transgender status

does not entail discrimination based on sex. Thus, not only were the government

appellants’ guidance documents properly enjoined as contrary to Bostock, but more

importantly, they are contrary to the text of Title IX and Title VII themselves.

      The Court should distinguish the Bostock ruling. The underlying “ordinary

public meaning” is not an established test. Its use creates confusion. This Court

should affirm that Title VII and Title IX impose no non-discrimination criteria

with regard to homosexuality or transgender status because of sex under either law.


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It should also hold that Bostock’s claim to the contrary in the context of Title VII

terminations is unpersuasive, contrived, lacking a factual foundation, and therefore

nonprecedential.

      Taken to its logical conclusion, the Bostock ruling, if taken seriously,

renders all legal dictionaries obsolete and useless. Not only does Bostock remove

the distinction between words having a specific legal meaning and words not

having any particular legal meaning, but it downgrades all legal terms to be

equivalent to words as they are used in contemporary popular culture. There are

no legal words anymore – only contemporary, common, or popular words.

      With the way in which popular culture is constantly changing, the Bostock

ruling is in reality a rejection of the fixed meaning of words – not merely legal

terms, but all words. How long will it be until a clever employer claims it has not

violated Title VII or Title IX because the word “sex” is no longer capable of

definition according to popular culture, or that firing a woman is not in violation of

law because the term “woman” can no longer be defined? Yet, inescapably, this is

the direction in which the Bostock ruling points us.




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                                CONCLUSION

      For the foregoing reasons, the decision of the court below should be

affirmed.

                             Respectfully submitted,

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           CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

       1. This brief complies with the type-volume limitation of Fed. R. App. P.
32(a)(7)(B) because this brief contains 4,614 words, excluding the parts of the
brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

       2. This brief complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this
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                                            /s/ Kerry Lee Morgan

                          CERTIFICATE OF SERVICE

      IT IS HEREBY CERTIFIED that service of the foregoing Brief Amicus
Curiae of LONANG Institute in Support of Plaintiffs-Appellees and Affirmance,
was made, this 31st day of January 2023, by the Court’s Case Management
Electronic Case Files system upon the attorneys for the parties.

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